                                                             TSC/JMR/ZAK-13681

                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN

THE ESTATE OF DONNA M. FAY, By CAROL
M. THOMPSON, Special Administrator, and
CAROL M. THOMPSON INDIVIDUALLY,

                   Plaintiffs,

AND ROSE M. KNAUP,
                                                Case No:
                                                Case Code:
                   Involuntary Plaintiff,
v.

SSC GERMANTOWN OPERATING COMPANY LLC d/b/a
VIRGINIA HIGHLANDS HEALTH AND REHABILITATION CENTER,
VIRGINIA HIGHLANDS HLTH & REHAB CTR,
VIRGINIA HIGHLANDS HR,
VIRGINIA HIGHLANDS
A foreign corporation
c/o CT CORPORATION SYSTEM, its Registered Agent
301 S. Bedford Street, Suite 1
Madison, Wisconsin 53703,

ABC INSURANCE COMPANY
An insurance company, whose identity is unknown,

SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC
A foreign corporation
c/o THE CORPORATION TRUST COMPANY, its Registered Agent
1209 Orange Street
Wilmington, Delaware 19801,

DEF INSURANCE COMPANY
An insurance company, whose identity is unknown,

SAVASENIORCARE CONSULTING. LLC
A foreign corporation
c/o THE CORPORATION TRUST COMPANY, its Registered Agent
1209 Orange Street
Wilmington. Delaware 19801,

GHI INSURANCE COMPANY
An insurance company, whose identity is unknown,


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          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 1 of 32 Document 1
XAVIER BECCERA as
SECRETARY OF THE U.S. DEPT.
OF HEALTH AND HUMAN SERVICES
c/o United States Attorney’s Office
Federal Building
517 E. Wisconsin Avenue
Milwaukee, WI 53202

UNITEDHEALTHCARE OF WISCONSIN, INC.
A domestic corporation
c/o CT Corporation, its Registered Agent
301 S. Bedford Street, Suite 1
Madison, WI 53703

                Defendants.
______________________________________________________________________

                           NOTICE OF REMOVAL
______________________________________________________________________

To:   CLERK OF THE UNITED STATES DISTRICT COURT
      Eastern District of Wisconsin
      Gina M. Colletti
      United States Federal Building and Courthouse
      517 E. Wisconsin Ave.
      Room 362
      Milwaukee, WI 53202

      Ryan J. Hetzel
      HETZEL LAW OFFICE,LLC
      411 North River Road
      West Bend, WI 53090
      Ph: 262-334-4700

      WASHINGTON COUNTY CLERK OF CIRCUIT COURTS
      Theresa M. Russell
      432 East Washington St.
      West Bend, WI 53095

      NOW COME Defendants, SSC GERMANTOWN OPERATING COMPANY LLC,

SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, and SAVASENIORCARE

CONSULTING, LLC, and provide this Notice of Removal to the United States District Court,

Eastern District of Wisconsin, based on diversity of citizenship under 28 U.S.C. §1441. The

specific grounds for removal are as follows:

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           Case 2:21-cv-01137-NJ Filed 10/01/21 Page 2 of 32 Document 1
       1.     On August 26, 2021, Plaintiff, a Wisconsin citizen, commenced this action

sounding in negligence and punitive damages, in the Circuit Court of Washington County,

Wisconsin, entitled: THE ESTATE OF DONNA M. FAY, By CAROL M. THOMPSON, Special

Administrator, And CAROL M. THOMPSON, Individually, and ROSE M. KNAUP, Involuntary

Plaintiff v. SSC GERMANTOWN OPERATING COMPANY LLC d/b/a VIRGINIA

HIGHLANDS HEALTH AND REHABILITATION CENTER, VIRGINIA HIGHLANDS HEALTH

& REHABILITATION CENTER, VIRGINIA HIGHLANDS HR, SAVASENIORCARE

ADMINISTRATIVE SERVICES, LLC, and SAVASENIORCARE CONSULTING, LLC, Court

No. 2021CV000417. (See Exhibit A, Complaint.)

       2.     This Notice of Removal is brought under 28 U.S.C. §1441 and 1446. This

Court has jurisdiction pursuant to 28 U.S.C. §1332 on the basis that there is complete

diversity of citizenship between the parties and the amount in controversy is in excess of

seventy-five thousand dollars ($75,000).

       3.     Involuntary Plaintiff, ROSE M. KNAUP, is a citizen of the state of Wisconsin.

       4.     Defendant, SSC GERMANTOWN OPERATING COMPANY LLC, a Delaware

Limited Liability Company, through its registered agent, CT Corporation, was served with a

copy of the Summons and Complaint on or about September 2, 2021. (See Exhibit B,

Service of Process Transmittal)

       5.     VIRGINIA HIGHLANDS HEALTH AND REHABILITATION CENTER is simply

the assumed name used by SSC GERMANTOWN OPERATING COMPANY LLC during the

time periods alleged in Plaintiff’s Complaint.

       6.     Defendant, SSC GERMANTOWN OPERATING COMPANY LLC, a Delaware

Limited Liability Company, was a resident of the State of Delaware at all times relevant to

Plaintiff’s Complaint.


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            Case 2:21-cv-01137-NJ Filed 10/01/21 Page 3 of 32 Document 1
       7.      Defendant, SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC, is a

Delaware Limited Liability Company, and was a resident of the State of Delaware, with its

principal place of business in Atlanta, Georgia at all times relevant to Plaintiff’s Complaint.

       8.      Defendant, SAVASENIORCARE CONSULTING, LLC, is a Delaware Limited

Liability Company, and was a resident of the State of Delaware, with its principal place of

business in Atlanta, Georgia at all times relevant to Plaintiff’s Complaint.

       9.      Defendants, SAVASENIORCARE ADMINISTRATIVE SERVICES, LLC and

SAVASENIORCARE CONSULTING, LLC, have since ceased operation. The two entities

now    operate    under    the   name     SAVASENIORCARE           ADMINISTRATIVE          AND

CONSULTING, LLC. The entity n/k/a SAVASENIORCARE ADMINISTRATIVE AND

CONSULTING, LLC is a resident of the State of Delaware, with its principal place of

business in Atlanta, Georgia.

       10.     Defendant, XAVIER BECCERA as SECRETARY OF THE U.S. DEPT. OF

HEALTH AND HUMAN SERVICES, is not considered a citizen of any State for diversity

purposes. See Howard v. Wal-Mart Stores E. I, LP, No. 18-CV-431-JPS, 2018 U.S. Dist.

LEXIS 158951 (E.D. Wis. Sep. 18, 2018).

       11.     Defendant, UNITEDHEALTHCARE OF WISCONSIN, INC., is a Wisconsin

corporation. UNITEDHEALTHCARE OF WISCONSIN, INC. maintains only a subrogation

interest, which are aligned with the Plaintiff’s interests. This defendant should be realigned

as a plaintiff, and diversity jurisdiction is not defeated by naming a subrogated party as a

defendant. See Lampe v. Genuine Parts Co., 463 F. Supp. 2d 928 (E.D. Wis. 2006)

       12.     There is complete diversity of citizenship between the parties under 28 U.S.C.

§1332.




                                          4

             Case 2:21-cv-01137-NJ Filed 10/01/21 Page 4 of 32 Document 1
      13.     This action is a lawsuit arising out of claims of negligence and punitive

damages. Although Defendants deny that Plaintiff is entitled to any relief whatsoever, these

Defendants believe, in good faith, that the amount in controversy exceeds seventy-five

thousand dollars ($75,000).

      14.     The underlying state court action is one in which this Court has original

jurisdiction under the provisions of 28 U.S.C. §1332, and is one that may be removed to this

Court by the Defendants pursuant to the provisions of 28 U.S.C. §1441 because the matter

in controversy exceeds seventy-five thousand dollars ($75,000) exclusive of costs and

interest, and there is complete diversity between Plaintiff and Defendants.

      15.     Upon information and belief, a copy of the complete state court file consists of

Plaintiff’s complaint at law, and pursuant to 28 U.S.C. §1446(a) is attached as Exhibit A.

                                   Respectfully submitted:

                                   CARDEN & TRACY

                                   By:   /s/ Terrence S. Carden, III                     .
                                          Terrence S. Carden, III             .
                                          State Bar ID No. WI 1103035; IL 6205378
                                          Email: tcarden@ct-trial.com


                                   Attorneys for Defendants, SSC GERMANTOWN
                                   OPERATING COMPANY LLC SAVASENIORCARE
                                   ADMINISTRATIVE SERVICES, LLC, and
                                   SAVASENIORCARE CONSULTING, LLC


Mailing Address:
30 North LaSalle St.
Suite 2200
Chicago, IL 60602
Office: 312-345-7209
Fax: 312-345-7251




                                         5

            Case 2:21-cv-01137-NJ Filed 10/01/21 Page 5 of 32 Document 1
       Exhibit A




Case 2:21-cv-01137-NJ Filed 10/01/21 Page 6 of 32 Document 1
      Case 2021CV000417        Document 10   Filed 08-26-2021   Page 4 of 26
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                                                                               08-26-2021
                                                                               Clerk of Circuit Court
                                                                               Washington County, WI

STATE OF WISCONSIN                   CIRCUIT COURT              WASHINGTOIMmf
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                                                                               Muehlbauer
THE ESTATE OF DONNA M.FAY,                                                     Branch 2
By CAROL M. THOMPSON,Special Administrator,
And CAROL M. THOMPSON,Individually
W1189 Floral Park Lane
Campbellsport, WI 53010,

              Plaintiff, and

                                                   Case No.
                                                   Case Code: 30105
                                                   Wrongful death
ROSE M.KNAUP
N296 13TH Drive
Wautoma, WI 54982,

              Involuntary Plaintiff,

Vs.

SSC GERMANTOWN OPERATING COMPANY LLC d/b/a
VIRGINIA HIGHLANDS HEALTH & REHAB CENTER,
VIRGINIA HIGHLANDS HEALTH & REHABILITATION CENTER,
VIRGINIA HIGHLANDS HR,
VIRGINIA HIGHLANDS
A foreign corporation
do CT CORPORATION,its Registered Agent
301 S. Bedford Street, Suite 1
Madison, WI 53703,

ABC INSURANCE COMPANY
An insurance company, whose identity is unknown,

SAVASENIORCARE ADMINISTRATIVE SERVICES,LLC
A foreign corporation
c/o THE CORPORATION TRUST COMPANY,its Registered Agent
1209 Orange Street
Wilmington, DE 19801,

DEF INSURANCE COMPANY
An insurance company, whose identity is unknown,

SAVASENIORCARE CONSULTING,LLC
A foreign corporation
do THE CORPORATION TRUST COMPANY,its Registered Agent


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          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 7 of 32 Document 1
     Case 2021CV000417      Document 10       Filed 08-26-2021      Page 5 of 26




1209 Orange Street
Wilmington, DE 19801,

GHI INSURANCE COMPANY
An insurance company, whose identity is unknown,

XAVIER BECCERA as
SECRETARY OF THE U.S. DEPT.
OF HEALTH AND HUMAN SERVICES
do United States Attorney's Office
Federal Building
517 E. Wisconsin Avenue
Milwaukee, WI 53202,

UNITEDHEALTHCARE OF WISCONSIN,INC.
A domestic corporation
do CT Corporation, its Registered Agent
301 S. Bedford Street, Suite 1
Madison, WI 53703,

              Defendants.


                                        COMPLAINT


       NOW COMES the PLAINTIFFS,The Estate of Donna M.Fay by Carol M. Thompson,

Special Administrator, Carol M.Thompson, individually, by their attorneys, HETZEL LAW

OFFICE,LLC,alleges as follows:


1.     Donna M. Fay (hereinafter "DONNA") was a resident of Virginia Highlands Health And

Rehabilitation Center, also known as Virginia Highlands Health & Rehab Ctr, Virginia

Highlands HR, and Virginia Highlands, located at W173 N10915 Bernies Way, Germantown,

Wisconsin 53022,from approximately March 131h,2018 through May 22 d,2020.

2.     DONNA was born on August 4, 1939 and died on May 22"d, 2020; she was 80 years old

at the time of her death. At all times material to this Complaint and to the date of her death,

DONNA was a resident of the Village of Germantown, Washington County, Wisconsin.



                                              2
         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 8 of 32 Document 1
     Case 2021CV000417     Document 10         Filed 08-26-2021         Page 6 of 26




3.      Plaintiff Carol M. Thompson (hereinafter "CAROL")is an adult resident of the State of

Wisconsin, currently residing at W1189 Floral Park Lane, Campbellsport, Wisconsin 53010.

She is the surviving daughter of Donna M. Fay. Carol was appointed Special Administrator of

THE ESTATE OF DONNA M. FAY on June 17, 2020 (Washington County Case Number

2020PR00087). A copy ofthe Letters ofSpecial Administration is attached hereto as Exhibit 1.

4.      Involuntary Plaintiff Rose M. Knaup (hereinafter "ROSE") is an adult resident of the

State of Wisconsin, currently residing at N296 13th Drive, Wautoma, Wisconsin 54982. She is

the surviving daughter of Donna M. Fay. She is being joined in this action pursuant to Wis.

Stats. §803.03(1) because she may have a claim related to the subject matter ofthis action.

5.      THE ESTATE OF DONNA M. FAY, CAROL and ROSE are hereinafter collectively

referred to as"PLAINTIFFS".

6.      Upon information and belief, Defendant SSC GERMANTOWN OPERATING

COMPANY        LLC, doing        business as     VIRGINIA         HIGHLANDS HEALTH             AND

REHABILITATION CENTER, VIRGINIA HIGHLANDS HLTH & REHAB CTR,VIRGINIA

HIGHLANDS HR, AND VIRGINIA HIGHLANDS thereinafter "SSC GERMANTOWN

OPERATING COMPANY LLC") is a foreign corporation with its principal office located at

W173 N10915 Bernies Way, Germantown, Wisconsin 53022 and the office of its registered

agent, CT Corporation System, located at 301 South Bedford Street, Suite 1, Madison,

Wisconsin 53703. Upon further information and belief, at all times material hereto, SSC

GERMANTOWN OPERATING COMPANY LLC did/does substantial and not isolated

business in the State of Wisconsin. Upon information and belief, SSC GERMANTOWN

OPERATING COMPANY LLC is in the business of managing,owning and/or operating senior

living and/or health care services including, but not limited to, skilled nursing facilities, nursing



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         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 9 of 32 Document 1
     Case 2021CV000417       Document 10         Filed 08-26-2021        Page 7 of 26




facilities, nursing homes, and/or assisted living facilities. Upon further information and belief, at

all times material, SSC GERMANTOWN OPERATING COMPANY LLC owned, operated,

supervised, managed, administered, licensed, funded, and/or did business as the skilled nursing

facility Virginia Highlands Health And Rehabilitation Center, also known as Virginia Highlands

Hlth & Rehab Ctr, Virginia Highlands FIR, and Virginia Highlands, located at W173 N10915

Bernies Way, Germantown, Wisconsin 53022. Upon information and belief, at all times material

hereto, SSC GERMANTOWN OPERATING COMPANY LLC, by its employees,

representatives, consultants, agents, and/or servants provided DONNA with care, treatment,

and/or services at the skilled nursing facility and/or nursing home located at W173 N10915

Bernies Way, Germantown, Wisconsin 53022.                  Upon information and belief, SSC

GERMANTOWN OPERATING COMPANY LLC is directly liable for its own negligent acts,

as well as the negligent acts of its employees, officers and/or directors acting on SSC

GERMANTOWN OPERATING COMPANY LLC'S behalf. Further, SSC GERMANTOWN

OPERATING COMPANY LLC is vicariously liable for the negligent acts of its employees,

representatives, consultants, agents, and/or servants and those who SSC GERMANTOWN

OPERATING COMPANY LLC controlled or had the right and/or power to control, including

contractors.

7.     Upon information and belief, SSC GERMANTOWN OPERATING COMPANY LLC is

not only individually liable for the claims detailed herein but is also liable on the theory of

corporate relationship to, control of, direct participant liability and/or successor liability for,

including but not limited to SAVASENIORCARE Administrative Services, LLC, and

SAVASENIORCARE Consulting, LLC. Upon information and belief, at all times relevant to

the incident that is the subject of this case SSC GERMANTOWN OPERATING COMPANY



                                                 4
         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 10 of 32 Document 1
     Case 2021CV000417       Document 10        Filed 08-26-2021        Page 8 of 26




LLC is liable for the negligence, actions, and/or omissions of SAVASENIORCARE

Administrative Services, LLC,and SAVASENIORCARE Consulting, LLC.

8.      Upon information and belief, at all times material hereto, Defendant ABC Insurance

Company is insurance corporations doing substantial and not isolated business in Wisconsin that

delivered policies of insurance in the State of Wisconsin to SSC GERMANTOWN

OPERATING COMPANY LLC and are/were the liability insurers of SSC GERMANTOWN

OPERATING COMPANY LLC against liability claims, including those detailed herein. By

virtue of the terms and conditions of the policies of insurance and the statutes of the State of

Wisconsin, ABC Insurance Company is directly liable to PLAINTIFFS. The identity of ABC

Insurance Company is unknown and, therefore, PLAINTIFFS are identifying said Defendants

by fictitious name pursuant to the provisions of Wis. Stat. § 807.12.

9.     Upon information and belief, Defendant SAVASENIORCARE Administrative Services,

LLC is a foreign corporation with the office of its registered agent, The Corporation Trust

Company, located at Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801. Upon further information and belief, at all times material hereto, SAVASENIORCARE

Administrative Services, LLC did/does substantial and not isolated business in the State of

Wisconsin. Upon information and belief, SAVASEMORCARE Administrative Services, LLC

is in the business of managing, owning and/or operating senior living and/or health care services

including, but not limited to, skilled nursing facilities, nursing facilities, nursing homes, and/or

assisted living facilities. Upon further information and belief, at all times material,

SAVASENIORCARE Administrative Services, LLC owned, operated, supervised, managed,

administered, licensed, funded, and/or did business as the skilled nursing facility VIRGINIA

HIGHLANDS HEALTH AND REHABILITATION CENTER, also known as VIRGINIA



                                                 5
         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 11 of 32 Document 1
    Case 2021CV000417        Document 10         Filed 08-26-2021        Page 9 of 26




HIGHLANDS HLTH & REHAB CTR, VIRGINIA HIGHLANDS HR, and VIRGINIA

HIGHLANDS, located at W173 N10915 Bemies Way, Germantown, Wisconsin 53022. Upon

information and belief, at all times material hereto, SAVASENIORCARE Administrative

Services, LLC, by its employees, representatives, consultants, agents, and/or servants provided

DONNA with care, treatment, and/or services at the skilled nursing facility and/or nursing home

located at W173 N10915 Bernies Way,Germantown, Wisconsin 53022. Upon information and

belief, SAVASENIORCARE Administrative Services, LLC is directly liable for its own

negligent acts, as well as the negligent acts of its officers and/or directors acting on behalf of

SAVASENIORCARE            Administrative     Services, LLC. Further, SAVASENIORCARE

Administrative Services, LLC is vicariously liable for the negligent acts of its employees,

representatives, consultants, agents, and/or servants and those who SAVASENIORCARE

Administrative Services, LLC controlled or had the right and/or power to control, including

contractors.

        10.     Upon information and belief, SAVASENIORC ARE Administrative Services,

LLC is not only individually liable for the claims detailed herein but is also liable on the theory

of corporate relationship to, control of, direct participant liability and/or successor liability for,

including but not limited to SSC GERMANTOWN OPERATING COMPANY LLC. Upon

information and belief, at all times relevant to the incident that is the subject of this case

SAVASENIORCARE Administrative Services, LLC is liable for the negligence, actions, and/or

omissions      of   SSC      GERMANTOWN             OPERATING          COMPANY          LLC,     and

SAVASENIORCARE Consulting, LLC.

        1 1.    Upon information and belief, at all times material hereto, Defendant DEF

Insurance Companies are insurance corporations doing substantial and not isolated business in




          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 12 of 32 Document 1
      Case 2021CV000417      Document 10         Filed 08-26-2021         Page 10 of 26




Wisconsin    that delivered      policies   of insurance     in     the   State   of Wisconsin    to

SAVASENIORCARE Administrative Services, LLC and are/were the liability insurers of

SAVASENIORCARE Administrative Services, LLC against liability claims, including those

detailed herein. By virtue of the terms and conditions of the policies of insurance and the

statutes of the State of Wisconsin, DEF Insurance Companies is directly liable to PLAINTIFFS.

The identity of DEF Insurance Companies is unknown and, therefore, PLAINTIFFS are

identifying said Defendants by fictitious name pursuant to the provisions of Wis. Stat. § 807.12.

12.      Upon information and belief, Defendant SAVASENIORCARE Consulting, LLC is a

foreign corporation with the office of its registered agent, The Corporation Trust Company,

located at Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801. Upon

further information and belief, at all times material hereto, SAVASENIORCARE Consulting,

LLC did/does substantial and not isolated business in the State of Wisconsin. Upon information

and belief, SAVASENIORCARE Consulting, LLC is in the business of managing, owning

and/or operating senior living and/or health care services including, but not limited to, skilled

nursing facilities, nursing facilities, nursing homes,and/or assisted living facilities. Upon further

information and belief, at all times material, SAVASENIORCARE Consulting, LLC owned,

operated, supervised, managed, administered, licensed, funded, and/or did business as the skilled

nursing facility VIRGINIA HIGHLANDS HEALTH AND REHABILITATION CENTER,also

known as VIRGINIA HIGHLANDS HLTH 84 REHAB CTR, VIRGINIA HIGHLANDS HR,

and VIRGINIA HIGHLANDS,located at W173 N10915 Bernies Way, Germantown, Wisconsin

53022. Upon information and belief, SAVASENIORCARE Consulting, LLC is directly liable

for its own negligent acts, as well as the negligent acts of its officers and/or directors acting on

behalf of SAVASENIORCARE Consulting, LLC. Further, SAVASENIORCARE Consulting,



                                                 7
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 13 of 32 Document 1
      Case 2021CV000417       Document 10         Filed 08-26-2021        Page 11 of 26




LLC is vicariously liable for the negligent acts of its employees, representatives, consultants,

agents, and/or servants and those who SAVASENIORCARE Consulting,LLC controlled or had

the right and/or power to control, including contractors.

13.     Upon information and belief, SAVASENIORCARE Consulting, LLC is not only

individually liable for the claims detailed herein but is also liable on the theory of corporate

relationship to, control of, direct participant liability and/or successor liability for, including but

not    limited    to   SSC     GERMANTOWN             OPERATING         COMPANY           LLC,    and

SAVASENIORCARE Administrative Services, LLC. Upon information and belief, at all times

relevant to the incident that is the subject of this case SAVASENIORCARE Consulting, LLC is

liable for the negligence, actions, and/or omissions of SSC GERMANTOWN OPERATING

COMPANY LLC,and SAVASENIORCARE Administrative Services, LLC.

14.     Upon information and belief, at all times material hereto, Defendant GHI Insurance

Company is insurance corporations doing substantial and not isolated business in Wisconsin that

delivered policies of insurance in the State of Wisconsin to SAVASENIORCARE Consulting,

LLC and are/were the liability insurers of SAVASENIORCARE Consulting, LLC against

liability claims, including those detailed herein. By virtue of the terms and conditions of the

policies of insurance and the statutes of the State of Wisconsin, GHI Insurance Company is

directly liable to Plaintiff. The identity of GHI Insurance Company is unknown and, therefore,

Plaintiff is identifying said Defendants by fictitious name pursuant to the provisions of Wis.

Stat. § 807.12.

15.     Defendant, Xavier Beccera, Secretary of the United States Department of Health and

Human Services, has oversight responsibility for the Health Care Financing Administration, the

agency responsible for administering the federal Medicare program (hereinafter "Medicare").



                                                  8
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 14 of 32 Document 1
      Case 2021CV000417       Document 10        Filed 08-26-2021         Page 12 of 26




Upon information and belief, Medicare may have paid health claims on behalf of DONNA for

medical care and services rendered as a result of the incident that is the subject of this case.

Pursuant to 42 U.S.C. § 1395 Y (b)(2), Medicare may be entitled to reimbursement for related

paid claims if PLAINTIFFS recover through settlement or judgment. PLAINTIFFS assert no

claim against the United States, its agencies, or employees. Further, PLAINTIFFS seek to

extinguish any alleged subrogation claim of Medicare.

16.     Upon information and belief, Defendant UNITEDHEALTHCARE OF WISCONSIN,

INC. is a domestic Wisconsin corporation and/or health maintenance organization with the

office of its registered agent, CT CORPORATION SYSTEM, located at 301 S. Bedford Street,

Ste 1, Madison, Wisconsin 53703 and its statutory home office located at 10701 W. Research

Drive, Wauwatosa, Wisconsin 53226. Upon furthcr information and belief, at all times material

hereto, UNITEDHEALTHCARE OF WISCONSIN, INC. did/does substantial and not isolated

business in the State of Wisconsin. Upon information and belief, UNITEDHEALTHCARE OF

WISCONSIN, INC. may have paid health claims on behalf of DONNA for medical care and

services rendered as a result of the incident that is the subject of this case. Pursuant to Wis. Stat.

§ 803.03, the UNITEDHEALTHCARE OF WISCONSIN, INC. may be entitled to

reimbursement for related, paid claims if PLAINTIFF recovers through settlement or judgment.

PLAINTIFF alleges that there may be insufficient funds from which to honor any alleged

subrogation claim of the UNITEDHEALTHCARE OF WISCONSIN,INC., if in fact said claim

is valid and/or applicable, and that the interest of the UNITEDHEALTHCARE OF

WISCONSIN, INC. is subordinate to the interest of PLAINTIFF. Further, PLAINTIFF seek to

extinguish any alleged subrogation claim of the UNITEDHEALTHCARE OF WISCONSIN,

INC and therefore it is a property party Defendant.



                                                  9
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 15 of 32 Document 1
      Case 2021CV000417      Document 10         Filed 08-26-2021      Page 13 of 26




                                       GENERAL ALLEGATIONS

17.     Reallege and incorporate herein paragraphs 1 through 16, above.

18.     SSC GERMANTOWN OPERATING COMPANY, LLC, SAVASENIORCARE

ADMINISTRATIVE SERVICES, LLC, and SAVASENIORCARE CONSULTING, LLC,

are owned, operated, administered, managed, funded, licensed, controlled, supervised, and/or

did business as VIRGINIA HIGHLANDS HEALTH AND REHABILITATION CENTER,

also known as VIRGINIA HIGHLANDS HLTH & REHAB CTR, VIRGINIA HIGHLANDS

HR, and VIRGINIA HIGHLANDS, located at W173 N10915 Bemies Way, Germantown,

Wisconsin 53022, at all times material to this lawsuit.

19.     At all times material to this lawsuit, VIRGINIA HIGHLANDS HEALTH AND

REHABILITATION CENTER, also known as VIRGINIA HIGHLANDS HLTH & REHAB

CTR, VIRGINIA HIGHLANDS HR, and                         VIRGINIA HIGHLANDS (hereinafter,

"VIRGINIA HIGHLANDS"), located at W173 N10915 Bemies Way, Germantown,

Wisconsin 53022, is/was a skilled nursing facility, nursing facility, and/or nursing home

within the meaning of federal and Wisconsin statutes, regulations, and codes.

20.     At all times material, VIRGINIA HIGHLANDS was subject to federal and state law,

licensing and regulatory statutes, administrative codes, and rules applicable to skilled nursing

facilities, nursing facilities, and/or nursing homes.

21.     DEFENDANTS held themselves out as a specialist in the operation, administration, and

management of a skilled nursing facilities, nursing facilities, and/or nursing homes, with the

expertise necessary to provide prompt, necessary, and adequate care, treatment, and assistance,

a safe environment, and maintain the health and safety of its residents.

22.     DONNA was admitted to VIRGINIA HIGHLANDS on or around March 131^,2018 for

rehabilitation and/or care following a hospitalization.


                                                 10
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 16 of 32 Document 1
      Case 2021CV000417       Document 10         Filed 08-26-2021        Page 14 of 26




23.      Upon information and belief, upon her admission to VIRGINIA HIGHLANDS on or

around March 13th, 2018, DEFENDANTS documented that DONNA was admitted with

quadriplegia, pneumonia and depressive disorder.

24.     At all times DONNA was a resident of VIRGINIA HIGHLANDS,DEFENDANTS had

a duty and promised to provide DONNA with prompt and adequate individualized treatment,

assistance, care, and services including, but not limited to, skilled nursing care, supervision,

monitoring, assessment, skin and/or wound care, pressure injury and/or infection prevention,

medication management and/or administration, toileting and/or mobility assistance, in dwelling

catheter care, and/or dietary services, by DEFENDANTS and/or its employees, representatives,

consultants, agents, officers, and/or servants to attain and maintain the highest physical, mental,

and psychosocial well-being, level offunction and safety for DONNA.

25.     At all times material, DEFENDANTS had a duty to and agreed to provide health care

and/or related services to DONNA to attain and maintain the highest physical, mental, and

psychosocial well-being, level of function and safety for DONNA.

26.     At all times material, DONNA had quadriplegia and was subject to numerous risk

factors including, but not limited to, impaired mobility, muscle weakness, fatigue, balance

deficits, predisposing diseases/conditions, incontinence, pain, and/or foley catheter use, and

was unable to attend to her own health and safety.

27.     At all times material, DONNA required supervision, monitoring, and assistance from

DEFENDANTS'staff and was dependent on DEFENDANTS'assistance for treatment, cares,

activities of daily living, health care, and/or related services including, but not limited to, bed

mobility, repositioning, pressure off-loading and/or redistribution, physical activity, mobility

and/or transfers assistance, incontinence and/or catheter care, urinary and/or bowel



                                        11
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 17 of 32 Document 1
      Case 2021CV000417      Document 10        Filed 08-26-2021       Page 15 of 26




management, skin and/or wound care, personal hygiene, nutrition and/or hydration, and/or

medication management and/or administration, and/or the prevention of harm, injuries, skin

breakdown, pressure injuries, ulcers, and/or infections.

28.      At all times material, DEFENDANTS accepted the duty and responsibility for the safety

and supervision of DONNA and stood in a special relationship with DONNA for the purposes

of her protection.

29.      At all times material, the special relationship between DONNA and DEFENDANTS

gave rise to a duty of reasonable care owed to DONNA, and other VIRGINIA HIGHLANDS

residents, to protect them from all foreseeable harm.

30.      Upon information and belief, at all times material, DEFENDANTS knew or should have

known that DONNA required adequate and competent staff to supervise, assess, monitor, assist,

treat, protect, and keep its residents, including DONNA,safe.

31.      At all times material, it was the policy, procedure and practice of the DEFENDANTS to

educate, train, orient and teach management, supervisors and staff to provide care, assistance,

and services to residents according to their needs and disabilities.

32.      Upon information and belief, at all times material, DEFENDANTS, through their

employees, representatives, consultants, agents, and/or servants, had developed and

implemented practices, policies, and procedures to develop, update, implement, and/or comply

an Individualized Service Plan, Plan of Care, and/or Care Plan for the residents of VIRGINIA

HIGHLANDS,including DONNA.

33.      Upon information and belief, at all times material, DEFENDANTS failed to properly

transfer DONNA using a Hoyer Lift per the current standards of practice and/or

DEFENDANTS' policies and procedures, failed to use the proper straps for the Hoyer Lift and



                                                 12
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 18 of 32 Document 1
      Case 2021CV000417      Document 10        Filed 08-26-2021         Page 16 of 26




were using universal straps that were not numbered, failed to have two caregivers present to

transfer DONNA from her bed to her wheelchair, and failed to prevent DONNA from injury

while she was a resident of VIRGINIA HIGHLANDS.

34.     Upon information and belief, at all times material, DONNA spent a significant amount of

time in bed while she was a resident of VIRGINIA HIGHLANDS and required assistance to

leave or return to her bed at the VIRGINIA HIGHLANDS.

35.     At all times material, it was the duty and responsibility ofDEFENDANTS' management,

supervisors and staff to act reasonably to prevent residents, including DONNA,from harm.

36.     At all times material, DEFENDANTS chose not to provide adequate training for their

management and staffregarding their reasonable duty ofcare to protect residents from harm.

37.     Upon information and belief, at all times material, DEFENDANTS chose not to develop

policy, practice, procedure, and/or protocols to address the needs of DONNA and other

VIRGINIA HIGHLANDS residents.

38.     Upon information and belief, at all times material, DEFENDANTS failed to ensure its

staff was trained in mobility assistance and failed to provide DONNA with the with the adequate

and competent staff necessary to transfer DONNA via a Hoyer Lift, or to provide the proper

straps for use with the Hoyer Lift, using practices, procedures, and/or protocols required to meet

DONNA'S needs and/or prevent DONNA from harm.

39.     Upon information and belief, that on or around May 22"d, 2020 at 7:10 a.m.,

DEFENDANTS' documented that DONNA was being transferred via the Hoyer Lift from her

bed to her wheelchair. As the nursing assistant was lifting DONNA from her bed and pivoting

toward the wheelchair, the nursing assistant reported hearing a snapping noise and DONNA slid

out ofthe sling and landed on the floor at the base of the Hoyer Lift.



                                                13
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 19 of 32 Document 1
      Case 2021CV000417     Document 10        Filed 08-26-2021        Page 17 of 26




40.     As a direct of Defendant's choices, including but not limited to Defendant's choice not to

properly monitor Donna by ensuring that two caregivers were present during the transfer, but

also failed to provide the proper straps for use with the Hoyer Lift, resulted in a subsequent

investigation performed by the Department of Health and Human Services. The Department of

Health and Human Services found that VIRGINIA HIGHLANDS, relative to this incident,

provided substandard quality of care, and that the root cause of the fall was the use of an

incorrect sling that was not completely hooked into all four of the clips of the lift and did not

wait for a second staff member to assist with DONNA'S transfer per her plan of care.

41.     Upon information and belief, on or around 8:00 a.m. on May 22", 2020, DONNA was

transported from VIRGINIA HIGHLANDS to the hospital by emergency medical services,

Where she was admitted, evaluated, diagnosed with, and/or treated for severe injuries, including

but not limited to a laceration to her face requiring stitches, a urinary tract infection and

fractures to both legs, specifically a right femur fracture and a left tibula-fibula fracture, and

acute cholecystitis.

42.     Upon information and belief, DONNA arrived at the hospital by emergency medical

services on May 22", 2020 and DONNA'S injuries were documented upon her admission to

the hospital.

43.     As a direct result of the DEFENDANTS' choices, DONNA required surgical

intervention, and/or extensive treatment for the injuries she suffered while she was a resident

of VIRGINIA HIGHLANDS, which ultimately resulted in her death.

44.      As a result of actions and omissions of DEFENDANTS, DONNA suffered severe

pain suffering, mental anguish, and emotional distress, and DONNA died on May 22", 2020

as a direct result of complications of the injuries she suffered at VIRGINIA HIGHLANDS



                                                14
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 20 of 32 Document 1
      Case 2021 CV000417     Document 10         Filed 08-26-2021        Page 18 of 26




and/or as a direct result of complications of the injuries she suffered as a result of the actions

and omissions ofthe DEFENDANTS.


                              FIRST CAUSE OF ACTION — NEGLIGENCE


45.     Reallege and incorporate herein paragraphs 1 through 44 above.

46.      Upon information and belief, DEFENDANTS,through its employees, representatives,

consultants, agents, and/or servants, chose not to provide necessary care, assessments,

planning, supervision, monitoring, management, documentation, administration, assistance,

care and treatment to DONNA,including but not limited to:


        a.     failing to properly assess DONNA;

        b.    failing to prevent DONNA from being injured while transferring her from the
        wheelchair to the bed and bed to the wheelchair;

        c.     failing to provide appropriate and necessary care, services, interventions and/or
        treatments required to attain or maintain highest practicable physical, mental, and/or
        psychosocial level of well-being for DONNA, provide or arrange for services adequate
        to meet DONNA'S needs, and/or ensure that DONNA received treatment and care in
        accordance with the standards of care, her comprehensive individualized care plan,
        and/or DEFENDANTS' policies and procedures;

        d.      failing to provide the proper equipment and implement appropriate and
        necessary care, treatment, interventions and/or plans to prevent injuries from occurring
        while using the Hoyer Lift;

        e.      failing to provide sufficient services to meet the care needs of DONNA and/or
        ensure that DONNA received prompt and adequate treatment, care, and/or services
        appropriate to her needs;

        f.     failing to properly manage, arrange for and/or administer physician orders and/or
        ensure DONNA received services, care, and/or treatments in compliance with his
        physician's orders;

        g.      failing to document and/or assess changes in the DONNA'S health or mental
        health status, monitor DONNA'S health, and/or properly arrange for DONNA'S needs
        and/or services;


                                        15
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 21 of 32 Document 1
      Case 2021CV000417      Document 10         Filed 08-26-2021       Page 19 of 26




        h.     failing to monitor and supervise DONNA to keep her safe;

        i. failing to evaluate the increasing acuity of DONNA'S needs and the ability of
           DEFENDANTS to meet those needs;

       j. failing to ensure DONNA'S medical records were complete, accurately documented
        and/or maintained, readily accessible, and/or accurately reflected pertinent care
        information including, but not limited to assessments and/or services, cares, treatments,
        and/or medications provided to DONNA;

        k.       failing to appropriately train and/or instruct, supervise, and hire its employees,
        representatives, consultants, agents, and/or servants to ensure that DONNA received
        proper assessment, supervision, treatments, care, and/or skilled nursing services,
        including but not limited to, appropriate transfer using the Hoyer lift, use of appropriate
        equipment and straps, failing to inspect the equipment, and compliance with 2-person
        assist transfers;

        I.      failing to develop and/or implement proper policies and procedures and necessary
        interventions and/or plans regarding documenting appropriate transfer using the Hoyer
        lift, use of appropriate equipment and straps, failing to inspect the equipment, and
        compliance with 2-person assist transfers

        m.     failing to have in place appropriate policies and procedures to ensure that all staff
        were knowledgeable about, including but not limited to, the need for documenting and
        provide care in accordance with DONNA'S needs, his Plan of Care, and/or her
        physicians' orders;

        n.     failing to comply with state and federal regulations and other policies and
        procedures, including but not limited to Wis. Adm. Code DHS § 132; and/or

        o.    otherwise failing to follow the appropriate standards of care.

47.     DEFENDANTS, through their employees, representatives, consultants, agents, and/or

servants engaged in a continuum and pattern of negligent care, assessment, documentation,

planning, supervision, management, administration, assistance, care, and treatment of DONNA

during the period of her residency at VIRGINIA HIGHLANDS, within the course and scope of

their employment and agency, and in furtherance ofthe DEFENDANTS' business.

48.     DEFENDANTS' continuum and/or pattern of negligence of their employees,

representatives, consultants, agents, and/or servants were a substantial factor in causing

DONNA'S injuries, including but not limited to, a laceration to her face requiring stitches, a



                                                16
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 22 of 32 Document 1
      Case 2021CV000417      Document 10        Filed 08-26-2021        Page 20 of 26




urinary tract infection and fractures to both legs, specifically a right femur fracture and a left

tibula-fibula fracture, and acute cholecystitis resulting in her death on May 22nd, 2020.

49.     DEFENDANTS had a duty to develop, updated, implement, DONNA'S Plan of Care

and to provide her with health care and related services to attain and maintain the highest

physical, mental, and psychosocial well-being, level offunctioning and safety.

50.     DEFENDANTS and their employees, representatives, agents, consultants, officers and

servants failed, neglected and refused to follow and comply with DONNA'S Plan of Care, and

to provide health care, proper assistance, and related services to and for DONNA to attain and

maintain the highest physical, mental, and psychosocial well being, level of functioning and

safety for DONNA who was unable to attend to her own health and safety.

51.     At all times material, DEFENDANTS were subject to the requirements of42 U.S.C. §

139,6r(1990)et. seq, as amended by the Omnibus Budget Reconciliation Act of 1987(OBRA).

52.     At all times material, DEFENDANTS were subject to regulations of Volume 42, C.F.R.

Part 483, and effective October 1, 1990.

53.     At all times material, DEFENDANTS were subject to licensing and regulatory statutes,

administrative code and rules ofthe State of Wisconsin.

54.     At all times material, DEFENDANTS operated and managed VIRGINIA HIGHLANDS

so as to reduce costs by reducing staffing levels below that needed to provide necessary care to

residents, including DONNA. DEFENDANTS intentionally and/or with reckless disregard for

the rights of its residents and DONNA caused staffing levels at VIRGINIA HIGHLANDS to be

set so that the personnel on duty at any given time could not meet the needs of residents.

55.     Upon information and belief, DEFENDANTS knowingly established staffing levels that

created recklessly low nurse and nurse aid to resident ratios and disregarded patients' acuity



                                                17
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 23 of 32 Document 1
      Case 2021CV000417     Document 10        Filed 08-26-2021       Page 21 of 26




levels as well as the minimal time required to perform essential fimctions. All of these acts and

omissions of malfeasance directly caused injury to DONNA and other residents and were known

to DEFENDANTS

56.     Upon information and belief, the acts and omissions of DEFENDANTS were motivated

by a desire to reduce costs of VIRGINIA HIGHLANDS by reducing expenditures for staff,

training, education, supervision, management and/or care to levels that would predictably lead to

injury of residents, including DONNA.

57.     Upon information and belief, at all times material, DEFENDANTS failed to control the

quality of care and services provided to residents, to provide safe and adequate care, treatment,

services, and support, and to protect the health and safety of DONNA and other residents.

58.     Upon information and belief, at all times material, DEFENDANTS were aware, had

knowledge of and were notified that DEFENDANTS engaged in a pattern of negligent,

inadequate and substandard management, administration and care, including but not limited to,

use of substandard equipment, resident safety, resident monitoring, resident assessment, and/or

care planning.

59.     Upon information and belief, at all times material, DEFENDANTS were aware, had

knowledge of, and were notified that DEFENDANTS provided inadequate and substandard

staffing levels, hiring practices, training of staff, administration, management and failed to

develop, maintain, implement and supervise policies, procedures and standards ofcare.

60.     Upon information and belief, at all times material, DEFENDANTS failed to control the

quality of care and services provided to residents of VIRGINIA HIGHLANDS to provide the

necessary care and services to attain and maintain the highest physical, mental, and

psychosocial well-being, level offunctioning and safety of DONNA and other residents.



                                       18
         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 24 of 32 Document 1
      Case 2021CV000417      Document 10         Filed 08-26-2021        Page 22 of 26




61.      Upon information and belief, at all times material, DEFENDANTS, through their

employees, representatives, consultants, agents, directors, officers and servants, violated the

OBRA regulations that establish the minimum standard of care to be followed by nursing

homes. The OBRA regulations were enacted to protect nursing home residents such as

DONNA.

62.     At all times material, DEFENDANTS, by violating these federal rules and regulations,

breached a duty of care owed to DONNA who was a member of the class of citizens these rules

and regulations were intended and enacted to protect and as a direct result caused DONNA to

suffer a loss of dignity, severe injuries, pain, suffering, disability, mental anguish, and emotional

distress, and a wrongful death.

63.     DEFENDANTS is subject to the provisions of Wis. Stat. § 50.09, entitled, "Rights of

residents in certain facilities," and Chapter DHS 132 - Nursing Homes. These laws were enacted

to protect nursing home residents such as DONNA.

64.      DEFENDANTS failed to provide DONNA with a safe and convenient living

environment in violation of Chapter 50 ofthe Wisconsin statutes.

65.      DEFENDANTS violated DONNA'S rights, including but not limited to the right to be

treated at all times with courtesy, respect, and full recognition of his dignity and individuality,

all in violation of Chapter 50 and DHS 132.

66.      DEFENDANTS failed to provide treatment, services and nursing care, and other

ancillary services to DONNA, in violation of federal and Wisconsin statutes, codes, and

regulations.

67.      DEFENDANTS' continuum and/or pattern of negligence of its employees,

representatives, consultants, agents and/or servants and their violation of Wisconsin and federal



                                        19
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 25 of 32 Document 1
      Case 2021CV000417      Document 10        Filed 08-26-2021        Page 23 of 26




laws, rules and regulations, and codes were a substantial factor in causing DONNA'S rights to

be violated and DONNA'S loss of dignity, severe injuries, pain, suffering, disability, mental

anguish, and emotional distress, and wrongful death.

68.     The acts and/or omissions of DEFENDANTS and/or its employees, representatives,

consultants, agents, servants, directors, and officers were a substantial factor in causing the

harm and damages suffered by the PLAINTIFFS.

69.      As a direct and proximate result of DEFENDANTS' acts, omissions, and statutory,

regulatory and code violations, DONNA'S rights were violated, and DONNA suffered a loss of

dignity, severe injuries, pain, suffering, disability, mental anguish, and emotional distress, and a

wrongful death on May 22nd, 2020.

70.     As a direct and proximate result of the DEFENDANTS'acts, omissions and/or statutory,

regulatory and code violations, the PLAINTIFFS incurred funeral expenses, medical expenses,

out-of-pocket expenses, the loss of society and companionship of DONNA, and/or damages

pursuant to Wis. Stat. § 895.04.

                  SECOND CAUSE OF ACTION - PUNITIVE DAMAGES

71.     PLAINTIFFS       reallege   and    incorporate   herein    paragraphs    1   through    70.

DEFENDANTS' conduct was malicious and/or in conscious indifference and/or in intentional

disregard of the rights of DONNA, and others similarly situated, and performed willfully,

wantonly, and with disregard and/or conscious indifference of DONNA'S rights.

72.     As a result of DEFENDANTS' acts, omissions, statutory, regulatory and code

violations, and punitive conduct, DONNA suffered a loss of dignity, severe injuries, pain,

suffering, disability, mental anguish, and emotional distress, and a wrongful death on May 22nd,

2020.



                                                20
          Case 2:21-cv-01137-NJ Filed 10/01/21 Page 26 of 32 Document 1
  Case 2021CV000417        Document 10        Filed 08-26-2021       Page 24 of 26




73.      As a result of DEFENDANTS' acts, omissions, statutory, regulatory and code

violations, and punitive conduct, PLAINTIFFS incurred medical expenses, funeral expenses,

out-of-pocket expenses, the loss of society and companionship of DONNA,and/or damages

pursuant to Wis. Stat. § 895.04.

         WHEREFORE the Plaintiff The Estate of Donna M.Fay by Special Administrator Carol

M.Thompson,Carol M.Thompson,as an individual and Rose M.ICnaup, demand a trial by jury

and demandsjudgment against the Defendants SSC Germantown Operating Company, ABC

Insurance Company,Savaseniorcare Administrative Services, LLC,DEF Insurance Company,

Savaseniorcare Consulting,LLC,GHI Insurance Company,and each ofthem,as follows.

               a. For a sum of money to be awarded by ajury plus prejudgment interest

                  at a commercially reasonable rate from the date ofthe injury;

               b. For reasonable and necessary attorney's fees;

               c. For their costs and disbursements herein;

               d. For punitive damages in an amount to be determined by thejury;

               e. For such other and further relief as may be just and equitable under the laws

                   and statutes ofthe State of Wisconsin.

Dated:     hzcipt- 25M,202-1

                                             HETZEL LAW OFFICE,LLC
                                             Attorneys for PLAINTIFFS Estate of Donna M.Fay
                                             by Carol M.Thompsons, Special Administrator and
                                                       utoii son,Individually




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         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 27 of 32 Document 1
    Case 2021CV000417   Document 10   Filed 08-26-2021   Page 25 of 26




Post Office Address:
 411 North River Road
 West Bend, WI 53090
(262)334-4700




         Case 2:21-cv-01137-NJ Filed 10/01/21 Page 28 of 32 Document 1
                Case 2021 CV000417                  Document 10                   Filed 08-26-2021                    Page 26 of 26

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  STATE OF WISCONSIN, CIRCUIT                                                                                             06.11NTY
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 10THEMATTEROFTHE-ESTATEOF
  Donna Maiie.Alice.F'ay                                                                               Letters of Special Administration:
                                                                                                                               •
                                                                                                            (Formal Administration)
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  TO: 'Caitil Wtlitimpson                                                                          .
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                                       Th is form:shalt:not he modified. it may be supplemented with additiona matenal.
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                       Case 2:21-cv-01137-NJ Filed 10/01/21 Page 29 of 32 Document 1
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                      Case 2021CV000417                    Document 2                 Filed 08-26-2021                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                        CIRCUIT COURT                                    WASHINGTON                08-26-2021
                                                                                                                                     Clerk of Circuit Court
The Estate of Donna M Fay by Carol M Thompson et al vs. Electronic Filing                                                            Washington County, WI
SSC Germantown Operating Company LLC et al                   Notice
                                                                                                                                     2021CV000417
                                                   Case No. 2021CV000417                                                             Honorable James K
                                                   Class Code: Wrongful Death                                                        Muehlbauer
                                                                                                                                     Branch 2



                                SSC GERMANTOWN OPERATING COMPANY LLC
                                301 S. BEDFORD STREET, STE. 1
                                C/O CT CORPORATION, ITS REGISTERED AGENT
                                MADISON WI 53703




                Case number 2021CV000417 was electronically filed with/converted by the Was in vp
                County Circuit Court office. The electronic filing system is designed to allow for fast, rehab'
                exchange of documents in court cases.

                Parties who register as electronic parties can file, receive eiriipN documents Mine through
                the court electronic filing website. A document filed electronically has th same legal effect as
                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.
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                You may also register as an electronisparty bytfollo ng he instructions found at
                hftp://efiling.wicourts.gov/ an,Vayrthdrais an electronic party at any time. There is a
                $20.00 fee to register as an el etronic p‘ty. Tlts fee may be waived if you file a Petition for
                Waiver of Fees and Costs A lclav't4f Indoariey(CV-410A)and the court finds you are
                indigent under §814.2grliitco sin Statute%7

                If you are not retuesented ym attorney and would like to register an electronic party, you
                will need to enterThe fQowingode on the eFiling website while opting in as an electronic
                party.

                Pro Se opt-inoode: 11d8c9

                Un pawou register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-335-4341.

                                                                                    Washington County Circuit Court
                                                                                    Date: August 26, 2021




                               Case 2:21-cv-01137-NJ Filed 10/01/21 Page 30 of 32 Document 1
GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
       Exhibit B




Case 2:21-cv-01137-NJ Filed 10/01/21 Page 31 of 32 Document 1
                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    09/02/2021
                                                                                                    CT Log Number 540181767
TO:         Melita Hobby, Administrative Assistant
            SavaSeniorCare, LLC
            8601 DUNWOODY PL STE 775
            ATLANTA, GA 30350-2519

RE:         Process Served in Wisconsin

FOR:        SSC Germantown Operating Company LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: THE ESTATE OF DONNA M. FAY, By CAROL M. THOMPSON, Special Administrator,
                                                  And CAROL M. THOMPSON, Individually // To: SSC Germantown Operating Company
                                                  LLC
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 2021CV000417
NATURE OF ACTION:                                 Medical Injury - Improper Care and Treatment
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Madison, WI
DATE AND HOUR OF SERVICE:                         By Process Server on 09/02/2021 at 12:05
JURISDICTION SERVED :                             Wisconsin
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 09/02/2021, Expected Purge Date:
                                                  09/07/2021

                                                  Image SOP

                                                  Email Notification, Wynn Sims wgsims@savasc.com

                                                  Email Notification, Melita Hobby mlhobby@savasc.com

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           Case 2:21-cv-01137-NJ Filed 10/01/21 Page 32 of 32 Document 1
